           Case 1:16-vv-00455-UNJ Document 34 Filed 04/07/17 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-455V
                                      Filed: June 27, 2016
                                          Unpublished

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LINDA COMMESSO,                         *
                                        *
v.                                      *
                    Petitioner,         *     Ruling on Entitlement; Concession;
                                        *     Influenza Vaccination;
                                        *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                     *     Administration (“SIRVA”);
AND HUMAN SERVICES,                     *     Special Processing Unit (“SPU”)
                                        *
                    Respondent.         *
                                        *
****************************
Ronald Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for petitioner.
Darryl Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On April 11, 2016, Linda Commesso (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleges that she
suffered a left shoulder injury resulting from the influenza vaccine she received on
September 20, 2013. Petition at 1. Petitioner further alleges that she received her
vaccination in the United States, that she suffered the residual effects of her injury for
more than six months, and that neither she nor any other person has filed a lawsuit or
accepted a settlement for her injury, alleged as vaccine caused. Id. at ¶¶ 16-18. The
case was assigned to the Special Processing Unit of the Office of Special Masters.



1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
        Case 1:16-vv-00455-UNJ Document 34 Filed 04/07/17 Page 2 of 2



        On June 24, 2016, respondent filed her Rule 4(c) report in which she concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “has concluded that petitioner’s alleged injury is
consistent with shoulder injury related to vaccine administration (“SIRVA”), and that it
was caused-in-fact by the flu vaccine she received on September 20, 2013.” Id. at 4.
Respondent further indicates that she “did not identify any other causes for petitioner’s
SIRVA, and records show that she suffered the sequela of this injury for more than six
months.” Id. Respondent believes “based on the record as it now stands, petitioner has
satisfied all legal prerequisites for compensation under the Act.” Id.

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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